                                                                                                                                                                  8/20/21 12:15PM


 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 Northern District of Ohio, Western Division
 Case number (if known)                                                                     Chapter 7
                                                                                                                                               Check if this an
                                                                                                                                            amended filing



Official Form 205
Involuntary Petition Against a Non-Individual                                                                                                                             12/15
Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin a case
against a non-individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If more space
is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor's name and case number (if known).

 Part 1:       Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed
 1. Chapter of the Bankruptcy                 Check one:
    Code

                                                        Chapter 7
                                     Chapter 11
 Part 2: Identify the Debtor
  2. Debtor's name     Commonwealth Business Credit, LLC

 3. Other names you
    know the debtor
    has used in the last
    8 years

      Include any
      assumed names,
      trade names, or
      doing business as
      names.

 4. Debtor's federal Employer                  Unknown
    Identification Number (EIN)               XX-XXXXXXX
                                              EIN

  5. Debtor's address             Principal place of business                                                  Mailing address, if different

                                  7644 Kings Pointe Road
                                  Number                  Street                                                     Number           Street

                                                                                                                     P.O. Box
                                  Toledo OH 43617-1500
                                  City                                         State       Zip Code                  City                          State          Zip Code

                                                                                                                     Location of principal assets, if different from principal
                                  Lucas                                                                              place of business
                                  County
                                                                                                                     Number       Street


                                                                                                                     City                         State           Zip Code


 6.    Debtor's website (URL)                 www.northwestcap.com

 7.    Type of debtor            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP)
                                 Partnership (excluding LLP)
                                 Other type of debtor. Specify:
 8. Type of debtor's            Check one:
    business
                                Health Care Business (as defined in 11 U.S.C. § 101(27A)
                                Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B)

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 Debtor        Commonwealth Business Credit, LLC                                                                       Case number (if known)

                                Railroad (as defined in 11 U.S.C. § 101(44)
                                Stockbroker (as defined in 11 U.S.C. § 101(53A)
                                Commodity Broker (as defined in 11 U.S.C. § 101(6)
                                Clearing Bank (as defined in 11 U.S.C. § 781(3)
                                None of the types of business listed.
                                Unknown type of business.
 9. To the best of
    your knowledge,
                                 No
                                 Yes. Debtor                                                                                 Relationship
    are any
    bankruptcy cases
    pending by or                                     District                               Date filed                       Case number, if known
    against any                                                                                           MM / DD / YYYY
    partner or affiliate
    of this debtor?

                                                      Debtor                                                                  Relationship
                                                      District                               Date filed                       Case number, if known
                                                                                                          MM / DD / YYYY

 Part 3: Report About the Case
 10. Venue              Check one:


                                 Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of business, or principal assets
                                   in this district longer than in any other district.
                                 A bankruptcy case concerning debtor's affiliates, general partner, or partnership is pending in this district.


 11.    Allegations             Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                                The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                                At least one box must be checked:

                                 The debtor is generally not paying its debts as they become due, unless they are in the subject of a bona fide dispute as to liability or
                                   amount.
                                 Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or agent appointed or authorized to take
                                   charge of less than substantially all of the property of the debtor for the purpose of enforcing a lien against such property, was
                                   appointed or took possession.

 12. Has there been a
     transfer of any
                                 No
     claim against the           Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy Rule 1003(a).
     debtor by or to
     any petitioner?

 13. Each petitioner's claim Name of petitioner                                               Nature of petitioner's claim                            Amount of the claim
                                                                                                                                                      above the value of any
                                                                                                                                                      lien
                                       Series 10 of Cadence Group Platform, LLC                               Breach of Contract                        $5276667.36
                                                                                                                                                        $
                                                                                                                                                        $
                                                                                                                   Total of petitioners' claims $5276667.36
                                        If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor's
                                        name and the case number, if known, at top of each sheet. Following the format of this form,
                                        set out the information required in Parts 3 and 4 of the form for each statement under penalty
                                        of perjury set out in Part 4 of the form, followed by each additional petitioner's (or
                                        representative's) signature, along with the signature of the petitioner's attorney.



 Part 4 Request for Relief
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a petitioning creditor is a
corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a foreign representative appointed in a foreign
proceeding, attach a certified copy of the order of the court granting recognition.


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 Debtor        Commonwealth Business Credit, LLC                                                                          Case number (if known)

I have examined the information in this document and have a reasonable belief that the information is true and correct.
     Petitioners or Petitioners' Representative                                  Attorneys


 Name and mailing address of petitioner
Series 10 of Cadence Group Platform, LLC                                                                             Patricia B. Fugée
 Name                                                                                                Printed name

 c/o Cadence Group, Inc.
 86 Broad Street, Suite 205                                                                          FisherBroyles, LLP
 Number           Street                                                                             Firm name, if any
 New York NY 10007                                                                                   21700 Oakmead Drive, Box 306
 City                                             State                  Zip Code                    Number      Street
                                                                                                     Perrysburg OH 43551-0000
 Name and mailing address of petitioner's representative, if any                                     City                                          State        Zip Code
                                                                                                                                                           patricia.fugee@fisher
                                                                                                     Contact phone                                 Email
                                                                                                                                                           broyles.com
                                                                                                                          419.874.6859
 Name
                                                                                                     Bar number       0070698

                                                                                                     State           OH
 Number           Street

 City                                             State                  Zip Code

 I declare under penalty of perjury that the foregoing is true and correct.
 Executed on        August 20, 2021                                                                  /s/ Patricia B. Fugée
                    MM / DD / YYYY                                                                   Signature of attorney
                                                                                                     Date signed      August 20, 2021
 /s/ Rohit Bharill, Head of Risk                                                                                      MM / DD / YYYY
 Signature of petitioner or representative, including representative's title




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